                            UNITED STATES DISTRICT COURT
                                                                                                   USCA8, No. ___________

                                    for the Northern District of Iowa
                                                 NOTICE OF APPEAL
United States of America                                   )        11-CR-0046-LRR
                                                           )
         Plaintiff                                         )       District Court Docket Number
                                                           )
                 vs.                                       )        Hon. Chief Judge Linda R. Reade
Samuel B. Ford
                                                           )
                                                           )       District Court Judge
                                                           )
         Defendant.                                        )
                                            Defendant, Samuel B. Ford,
         Notice is hereby given that _________________________________ appeals to the Eighth

Circuit from the:         
                          ✔   Judgment & Commitment  Order                                   entered in this action on
December 5, 2011
                                                                              (Specify)
                                            .
/s/ Leslie E. Stokke                                                Leslie E. Stokke

Signature of Defendant’s Counsel                                    Typed Name of Defendant’s Counsel
225 2nd St SE, Ste 310
                                                                    (319) 364-8580
Street Address                          Room Number                        Telephone Number
  Cedar Rapids Iowa                         52401                   December 12, 2011

  City           State                     Zip                             Date

                                          TRANSCRIPT ORDER FORM
                                     TO BE COMPLETED BY ATTORNEY FOR APPELLANT
✔
 Please prepare a transcript of:                       I am not ordering a transcript because:
 ✔
       Pre-trial proceedings                                     Previously Filed
 ✔
       Testimony or                                              Other (Specify) _______________________________
        Portions thereof
 ✔
        Sentencing
 ✔
        Post Trial Proceedings
        Other (Specify) ______________________________________
                                       CERTIFICATE OF COMPLIANCE
        Appellant hereby certifies that copies of this notice of appeal/transcript order form have been filed/served
upon U.S. District Court, court reporter, and all counsel of record, and that satisfactory arrangements for payment
of cost of transcripts ordered have been made with the court reporter (FRAP 10(b)).

Method of payment:  Funds, ✔
                             CJA Form 24 completed and sent to court reporter.

                              /s/Leslie E. Stokke                     December 12, 2011
         Attorney’s
                CaseSignature
                        1:11-cr-00046-LRR-MAR                Date 154 Filed 12/12/11 Page 1 of 2
                                                        Document
                                    INFORMATION SHEET
                             TO BE COMPLETED BY ATTORNEY FOR APPELLANT

1.     Defendant’s Address: Linn County Correctional Center, 3rd Avenue Bridge, Cedar Rapids, Iowa 52401


2.     Date of Verdict: 8/11/11                               ✔
                                                               Jury    Non-Jury

              Offenses:        Distribution causing death (heroin): 21:841(a)(1), 841(b)(1)(C), 851 and 860(a)
                               Distribution (heroin & crack cocaine): 21:841(a)(1), 841(b)(1)(C) and 851



       Trial Testimony - Number of Days 4             Bail Status Detained
3.     Sentence and Date Imposed: Ct I: LIfe imprisonment; 10 years supervised release
                                       Ct II: 360 months; 10 years supervised release

4.     Appealing:     Sentence       Conviction         Both ✔
                                                               

       Challenging:             Application of Sentencing Guidelines
                                Constitutionality of Guidelines
                                Both Application and Constitutionality
                               ✔

5.     Date Trial Transcript ordered by Counsel or District Court:      12/12/2011

       Stenographer in Charge:         Patrice Murray & Kay Karr

       (Name, Address, Phone)          4200 C Street SW, Cedar Rapids, Iowa 52404

6.     Trial Counsel was:       Appointed
                               ✔               Retained

              Does Defendant’s financial status warrant appointment of counsel
              on appeal?     ✔
                              Yes                   No

              Affidavit of Financial Status filed:

              Is there any reason why trial counsel should not be appointed as
              counsel on appeal?     Yes  No
                                    ✔

7.     Assistant U.S. Attorney Name & Phone Number: _ Daniel Chtham & Daniel Tvedt
                                                      319-363-6333
                                                     _________________________


                 COURT REPORTER ACKNOWLEDGMENT

Date Order Received                 Estimated Completion Date                             Est Number of Pages


Court Reporter’s Signature                             Date




February 21, 2008
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                                                              2
